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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 19-cv-22875-BLOOM/Louis

 WINDY LUCIUS,

         Plaintiff,

 v.

 SURF STYLE, INC.,

       Defendant.
 ________________________________/

                                   ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court upon a sua sponte review of the record. On August 6,

 2019, the Court ordered Defendant to file an Inspection Report no later than August 26, 2019. ECF

 No. [9] (“ADA Order”). To date, Defendant has not filed an Inspection Report, nor has shown

 cause for the failure to do so.

         Accordingly, it is ORDERED AND ADJUDGED that on or before September 3, 2019,

 Defendant shall comply with the requirements of the ADA Order. Failure to comply will result in

 sanctions, including, but not limited to, entry of default. All other deadlines set forth in the Order

 shall remain strictly in place.

         DONE AND ORDERED in Chambers at Miami, Florida, on August 27, 2019.




                                                          _________________________________
                                                          BETH BLOOM
                                                          UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record
